    Case 1:20-cv-01022-RRM-SJB Document 2 Filed 02/25/20 Page 1 of 1 PageID #: 31


AO 440(Rev. 06/12) Summons in a Civil Action


                                     United States District Court
                                                                  for the

                                                      Eastern District of New York



                   Strike 3 Holdings, LLC                           )




                           Plaintifffs)
                                V.
                                                                    \^ CV20-1022
                                                                       Civil Action No.
  JOHN DOE infringer identified as using IP address
                       24.191.191.213                               (MAUSKOPF, CH J.
                          Defendant(s)                              i BULSARA, M.J.
                                                   SUMMONS IN A CIVIL ACTION


To'. (Defendant's name and address) Chad Plalnes
                                    50 Paerdgat 2ND ST, APT 2
                                    Brooklyn, NY 11236




          A lawsuit has been filed against you.

         Within 21 days after service ofthis summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee ofthe United States described in Fed. R. Civ.
P. 12(a)(2)or(3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: John C. Atkin, Esq.
                                          The Atkin Firrn, LLC
                                          400 Rella Boulevard, Suite 165
                                          Suffern, NY 10901
                                          Tel: (973)314-8010
                                          Fax: 833)693-1201
                                          Email: JAtkin(gatkinfirm.com

         If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                               DOUGLAS C,;PAtMER
                                                                             CLERiirQF COUiU' ■



Date:        FEB
                                                                                     Signature of(Aerk orJ^cputy Clerk ^ 5
